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                          UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                LUBBOCK DIVISION


 STATE OF TEXAS, et al.,

                Plaintiffs,

        v.                                            No. 5:24-cv-225

 XAVIER BECERRA, in his official
 capacity as Secretary of Health & Human
 Services, et al.,

                Defendants.


                UNOPPOSED MOTION FOR STAY OF ALL DEADLINES

       Defendants respectfully notify the Court that on January 20, 2025, the President of the

United States issued an Executive Order titled “Defending Women From Gender Ideology

Extremism And Restoring Biological Truth To The Federal Government,” which reflects the

position of the United States and provides that agencies shall not “promote or otherwise inculcate

gender ideology.” In light of that executive order, Defendants require additional time to evaluate

their position in this case and determine how best to proceed.

       Accordingly, Defendants respectfully request that the Court stay the current briefing

schedule, including: Plaintiffs' Cross-Motion for Summary Judgment due by 01/29/2025;

Defendants' Combined Cross-Motion for Summary Judgment and Opposition to Plaintiffs' Motion

for Summary Judgment due by 02/26/2025; Plaintiffs' Combined Opposition to Defendants' Cross-

Motion for Summary Judgment and Reply to Defendants' Opposition due by 03/26/2025; and

Defendants' Reply to Plaintiffs' Opposition due by 04/23/2025.




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       Defendants propose to meet and confer with Plaintiffs about how to proceed in this case

and intend to file a Joint Status Report (“JSR”) with the Court within 30 days of the Court’s ruling

on this Motion. The JSR will address how the parties wish to proceed in light of the recent

executive order.

       Defendants have conferred with Plaintiffs’ counsel and Plaintiffs are unopposed.

       A proposed Order is attached.




 Dated: January 24, 2025                             Respectfully submitted,

                                                     BRETT A. SHUMATE
                                                     Acting Assistant Attorney General
                                                     Civil Division

                                                     EMILY B. NESTLER
                                                     Assistant Branch Director

                                                     /s/ Jason K. Altabet
                                                     Jason K. Altabet
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                                                     Counsel for Defendants




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                             CERTIFICATE OF CONFERENCE

       I hereby certify that on January 23, 2025 Jason Altabet conferred with Plaintiffs’ counsel

via email and over the phone and that on January 24, 2025, Zachary Rhines stated via email that

Plaintiffs do not oppose the motion.

                                                    /s/ Jason K. Altabet
                                                    Jason K. Altabet




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